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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                        GAINESVILLE DIVISION

UNITED STATES OF AMERICA        :
                                :
v.                              :                   CIVIL ACTION NO.
                                :                   2:12-CR-0022-RWS-JCF
THOMAS COLEY and JESSI CASTILLO :


             NON-FINAL REPORT AND RECOMMENDATION

      This case is before the Court on the motions to sever filed by Defendants

Thomas Coley (Doc. 218) and Jessi Castillo (Doc. 256). Defendant Coley moves

to sever his trial from those of his co-defendants “recently added to the case by the

superseding indictment of January 16, 2013, including defendants Gregorio de la

Paz, Josue Guerrero, David Rizo-Troncoso, and Jessi Castillo.” (Doc. 218, Coley

Mot. at 1). Defendant Castillo, on the other hand, moves to sever his trial from

those of his co-defendants who were “initially indicted on August 14, 2012,

including defendants Davey Honeycutt, Brandon Musser, Thomas Coley, Phillip

Honeycutt and Phillip Alexander.” (Doc. 256, Castillo Mot. at 1). Defendants

have not shown that joinder is improper under Rule 8(b), nor have they shown at

this stage that they will suffer compelling prejudice if they are tried jointly with

their co-defendants. Therefore, it is RECOMMENDED that Defendants’ motions

be DENIED without prejudice as discussed below.



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                                      Background

      An Indictment filed August 14, 2012 (Doc. 1) charged Defendants Coley,

Davey Honeycutt, Phillip Honeycutt, Musser, and Alexander with conspiring to aid

and abet, and/or aiding and abetting “Michael Griffin, a/k/a Griff,” in the

possession or attempted possession of cocaine with the intent to distribute on

specified dates. (See Counts One, Two, Three, and Four). As has been noted

previously, the underlying charges stem from an FBI undercover investigation into

alleged criminal activities by members of the Outlaw Motorcycle Club and

affiliated motorcycle clubs in north Georgia. (See, e.g., Doc. 116, Gov’t Br. at 2).

The Government claims Defendants agreed to provide security for a series of

meetings involving potential drug transactions. (See, e.g., Doc. 113, Gov’t Br. at

3-4; Doc. 116, Gov’t Br. at 16-18).

      On January 16, 2013, the Government filed a Superseding Indictment. (Doc.

154). Counts One and Two of the Superseding Indictment continue to charge

Defendants Coley, Davey Honeycutt, Phillip Honeycutt, and Musser with

conspiring to aid and abet, and/or aiding and abetting “Michael Griffin, a/k/a

Griff,” in the possession or attempted possession of cocaine with the intent to

distribute on specified dates. Counts Three and Five now charge Defendants

Musser, Phillip Honeycutt, Phillip Alexander, Gregorio de la Paz, Josue Guerrero,

David Rizo-Troncoso, Coley, and Jessi Castillo with conspiring to aid and abet


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“Griff,” or aiding and abetting “Griff,” in the possession or attempted possession

of cocaine with the intent to distribute. Defendants de la Paz, Guerrero, Rizo-

Troncoso, and Castillo were not charged in the original Indictment. Defendants

Coley and Castillo are not charged in Counts Four, Six, Seven, and Eight of the

Superseding Indictment, which charge some of their co-defendants with drug,

firearm, and immigration offenses.

      Defendant Coley filed a motion to sever on February 26, 2013 (Doc. 218),

and the Government filed a response on March 14, 2013 (Doc. 252). Defendant

Coley did not file a reply. Defendant Castillo filed a motion to sever on March 21,

2013 (Doc. 256), and the Government filed a response on April 3, 2013 (Doc.

263). Defendant Castillo has informed the Court he does not intend to file a reply.

Briefing is therefore complete, and the undersigned now considers the merits of

Defendants’ motions.

                                       Discussion

      Defendant Coley contends that his trial should be severed from that of his

recently added co-defendants, i.e., Defendants de la Paz, Guerrero, Rizo-Troncoso,

and Castillo, on the grounds “that the government engages in unfair charging and

trial tactics by grouping defendants as it does, and that trying this group would

result in unfair prejudicial overspill as to Coley.” (Doc. 218, Coley Mot. at 1).

Defendant Castillo contends that his trial should be severed from the originally


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indicted Defendants, i.e., Davey Honeycutt, Phillip Honeycutt, Musser, Coley, and

Alexander, on the same grounds. (See Doc. 256, Castillo Mot. at 1).1 It appears

that Defendants are seeking severance pursuant to Federal Rule of Criminal

Procedure 14, in order to alleviate prejudicial joinder.     The undersigned also

considers whether joinder of these Defendants is proper under Federal Rule of

Criminal Procedure 8(b).

I.    Joinder Under FED. R. CRIM. P. 8(b)

      Rule 8(b) allows defendants to be charged together, and provides as follows:

      The indictment or information may charge 2 or more defendants if
      they are alleged to have participated in the same act or transaction, or
      in the same series of acts or transactions, constituting an offense or
      offenses. The defendants may be charged in one or more counts
      together or separately. All defendants need not be charged in each
      count.

FED. R. CRIM. P. 8(b). The Government contends that Defendants are properly

joined under Rule 8(b) because Defendants are charged in a common conspiracy

count. (See Doc. 252, Gov’t Br. at 3; Doc. 263, Gov’t Br. at 3). Defendants did

not file a reply and have not refuted the Government’s articulated rationale for

joining these Defendants for trial. Moreover, because the Superseding Indictment

charges the originally indicted Defendants with conspiring with the newly added


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  Defendants’ motions are almost identical, except that Coley seeks severance of
his trial from that of the defendants added in the Superseding Indictment, and
Castillo seeks severance of his trial from that of the defendants who were included
in the original Indictment.
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Defendants, joinder of these co-defendants appears proper under Rule 8(b). See

United States v. Pepe, 747 F.2d 632, 650 (11th Cir. 1984) (explaining that the

general rule is “that coconspirators should normally be tried jointly”).

Accordingly, to the extent that Defendants seek severance of their trial on the

ground that joinder under Rule 8(b) is improper, it is RECOMMENDED that

Defendants’ motions be DENIED.

II.    Severance Pursuant to FED. R. CRIM. P. 14

       Rule 14 provides that “[i]f the joinder of offenses or defendants in an

indictment . . . appears to prejudice a defendant or the government, the court may

order separate trials of counts, sever the defendants’ trials, or provide any other

relief that justice requires.” See FED. R. CRIM. P. 14(a). A court addressing a

motion for severance under Rule 14 is to “balance the rights of the defendants and

the government to a trial that is free from the prejudice that may result from joint

trials against the public’s interest in efficient and economic administration of

justice.” United States v. Novaton, 271 F.3d 968, 989 (11th Cir. 2001) (quoting

Pepe, 747 F.2d at 649). The Supreme Court has recognized “a preference in the

federal system for joint trials of defendants who are indicted together.” See Zafiro

v. United States, 506 U.S. 534, 537, 113 S.Ct. 933, 122 L.Ed.2d 317 (1993).

       The Eleventh Circuit has noted that “[i]nherent in every joint trial is, of

necessity, some degree of bias.” United States v. Lippner, 676 F.2d 456, 464 (11th


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Cir. 1982) (quotation omitted). The court explained in Lippner that “a severance

under Rule 14 is discretionary with the trial judge,” and “[o]nly in the event such

prejudice appears to be compelling does severance become warranted.” Id. at 464

(quotation omitted). The test for “compelling prejudice” involves assessing

      [w]hether under all circumstances of the particular case, as a practical
      matter, it is within the capacity of the jurors to follow the court’s
      admonitory instructions and accordingly to collate and appraise the
      independent evidence against each defendant solely upon that
      defendant’s own acts, statements and conduct. In sum, can the jury
      keep separate the evidence that is relevant to each defendant and
      render a fair and impartial verdict as to him? If so, though the task be
      difficult, severance should not be granted.

Id. (quotation omitted). “The burden is on the defendant to demonstrate that a joint

trial will result in specific and compelling prejudice to the conduct of his defense.”

United States v. Schlei, 122 F.3d 944, 984 (11th Cir. 1997) (quotation omitted).

“This is a heavy burden, and one which mere conclusory allegations cannot carry.”

United States v. Walser, 3 F.3d 380, 386 (11th Cir. 1993) (quotation omitted).

Furthermore, “[i]n order to overcome [the] presumption [that coconspirators

should be tried together] and to establish that severance of Defendants is mandated

pursuant to Rule 14, Defendant must not only show specific prejudice but also that

‘there is a serious risk that a joint trial would compromise a specific trial right of

one of the defendants, or prevent the jury from making a reliable judgment about

guilt or innocence.’ ” United States v. Villa[n]ueva Pineda, No. 1:11-CR-00006-


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CAP-JFK, 2012 U.S. Dist. LEXIS 98692, at *156 (N.D. Ga. June 4, 2012)

(quoting United States v. Blankenship, 382 F.3d 1110, 1123 (11th Cir. 2004)),

adopted by 2012 U.S. Dist. LEXIS 98192 (N.D. Ga. July 16, 2012).

      Defendants assert that the Court should sever their trials because the

originally indicted Defendants are “differently situated” from the newly added

Defendants, who are “not among the motorcycle club members and affiliates who

make up the rest of the defendants under these indictments.” (Doc. 218, Coley

Mot. at 2; Doc. 256, Castillo Mot. at 2). Defendants contend that the newly

indicted Defendants “are similarly situated only in the sense that they, too, appear

to have been indicted because of a government-planned and –executed operation to

which they were invited as unwilling dupes.” (Doc. 218, Coley Mot. at 2; see also

Doc. 256, Castillo Mot. at 2). Defendants argue that “[p]rejudicial overspill” will

result because the jury will attach inculpatory evidence relating to one group of

defendants to the other defendants, unrelated to one another “other than through

government-arranged and –initated connections.” (Doc. 218, Coley Mot. at 3-4;

see also Doc. 256, Castillo Mot. at 4).

      The undersigned finds that Defendants have not shown specific prejudice

resulting from a joint trial, nor have they shown a “serious risk that a joint trial

would compromise a specific trial right of one of the defendants, or prevent the

jury from making a reliable judgment about guilt or innocence.” Villa[n]ueva


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Pineda, 2012 U.S. Dist. LEXIS 98692, at * 156. Although Defendant Coley

asserts that a joint trial will prejudice his ability to present his defenses,

particularly those relating to the Government’s alleged over-involvement in the

crimes charged in the indictment (see Doc. 218, Coley Mot. at 3), he has not shown

how the joint trial of alleged drug co-conspirators, including both members of a

motorcycle club and others, harms his ability to present those defenses.

Furthermore, to the extent that Defendants are concerned about the jury’s ability to

distinguish between the evidence against each Defendant and that against his co-

defendants, “[a] disparity in the evidence admissible against one defendant as

compared to his co-defendant is not a sufficient basis for a severance.” United

States v. Goduto, No. 1:11-CR-230-JEC-GGB, 2011 U.S. Dist. LEXIS 152750, at

*6-7 (N.D. Ga. Nov. 29, 2011), adopted by 2012 U.S. Dist. LEXIS 12723 (N.D.

Ga. Feb. 2, 2012). Critically, as the Government points out, Defendants have not

provided this Court with a basis for concluding that the jury will not be able to

follow the Court’s instructions, including those governing the jury’s consideration

of evidence as to each defendant. See id. at *6-7. Many jury instructions are

designed to mitigate the potential prejudicial effect of jointly trying defendants.

For example, as pointed out by the Government in its response to Defendants’

motions, the Eleventh Circuit Pattern Jury Instructions for Criminal Cases include

instructions on requiring the jury to consider each charge against each defendant


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separately, and directing the jury that a conclusion that one defendant’s guilt

should not affect the jury’s verdict as to other defendants. See, e.g., United States

v. Lisbon, 835 F. Supp. 2d 1329, 1371 (N.D. Ga. 2011) (considering pattern jury

instructions in concluding severance was not warranted). If needed, the trial court

has the authority to craft additional limiting instructions.

       Furthermore, if Defendants demonstrate compelling prejudice at trial, the

trial court can order that the trials of the defendants be severed. See, e.g., United

States v. Kopituk, 690 F.2d 1289, 1316 (11th Cir. 1982) (noting that the trial court

has a “continuing duty at all stages of the trial to grant a severance if prejudice

does appear” (internal quotation omitted)); United States v. Hughes, No. 2:08-CR-

0019-RWS-SSC, 2008 U.S. Dist. LEXIS 109585, at *11 (N.D. Ga. Oct. 3, 2008)

(“Should it become apparent at a later point in the prosecution of this case that

prejudice to Defendant from trial of all [defendants] together is ‘clearly beyond the

curative power of a cautionary instruction,’ Defendant may renew his motion.”),

adopted by 2009 U.S. Dist. LEXIS 69023 (N.D. Ga. Aug. 4, 2009). Because the

undersigned finds that Defendants have not shown at this point that compelling

prejudice will result from a joint trial with their co-defendants, it is

RECOMMENDED that Defendants’ motions to sever (Docs. 218, 256) be




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DENIED without prejudice to their right to renew their motions if circumstances

at trial support severance.2

                                       Summary

        It is RECOMMENDED that the motions to sever filed by Defendants

Coley and Castillo (Docs. 218, 256) be DENIED without prejudice.

        IT IS SO REPORTED AND RECOMMENDED this 11th day of April,

2013.


                                              /s/ J. CLAY FULLER
                                             J. CLAY FULLER
                                             United States Magistrate Judge




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   Defendants also request that the Court hold an evidentiary hearing on their
motion to sever, and assert that the Government “should be required to provide
discovery to [Defendants] that is related to the additional co-defendants.” (Doc.
218, Def. Br. at 4; Doc. 256, Def. Br. at 4). Defendants have not provided any
basis for these requests, nor have they shown that a hearing or additional discovery
is necessary to resolve the instant motion.
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